                  THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



 In re Application of KARAM SALAH AL
 DIN AWNI AL SADEQ and STOKOE
                                                     Misc. Civil Action No.
 PARTNERSHIP SOLICITORS for an
 Order Under 28 U.S.C. § 1782 to Conduct
 Discovery for Use in Foreign Proceedings.


      [PROPOSED] ORDER GRANTING APPLICATION FOR JUDICIAL
      ASSISTANCE IN OBTAINING EVIDENCE IN THIS DISTRICT FOR
      USE IN FOREIGN PROCEEDINGS PURSUANT TO 28 U.S.C. § 1782

       This matter comes before the Court on the ex parte Application of Karam Salah Al

Din Awni Al Sadeq (“Mr. Al Sadeq”) and Stokoe Partnership Solicitors (“Stokoe”, and

together with Mr. Al Sadeq, the “Applicants”), for an Order Pursuant to 28 U.S.C. § 1782

to Conduct Discovery by the Issuance of Subpoenas (the “Application”), which seek

information, documents, and materials in connection with civil proceedings initiated by the

Applicants and currently pending in the High Court of Justice of England and Wales,

Queen’s Bench Division captioned: Karam Salah Al Din Awni Al Sadeq v. Dechert, LLP,

Neil Gerrard, David Hughes, and Caroline Black, Claim No. QB-2020-000322, and Stokoe

Partnership Solicitors v. Mr. Patrick Tristram Finucane Grayson, Grayson + Co Limited,

Mr. Stuart Robert Page, and Page Corporate Investigations Limited, Claim No., QB-2020-

002492 (collectively, the “Foreign Proceedings”).




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      The Court, having considered the Application, the Memorandum of Law in Support

of the Application, and the Declarations of Mark W. Merritt and Haralambos Tsiattalou in

Support of the Application, and good cause appearing, it is hereby ordered that:

      1.     The Application is GRANTED.

      2.     Applicants are hereby granted leave to issue the Subpoenas for information,

documents, and materials, in substantially the same form attached as Exhibit A and Exhibit

B to the Declaration of Mark W. Merritt, upon each of Nicholas Del Rosso and Vital

Management Services Inc.

      ORDERED this ____ day of _________, 2021.


                                                ________________________________
                                                UNITED STATES DISTRICT JUDGE




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